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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------- X
 MARGARET RHEE-KARN,                     :
                                         :
                          Plaintiff,     :
                -v-                      :               15cv9946 (DLC)
                                         :
 SUSAN CHANA LASK, ESQ., A/K/A SUSAN     :                     ORDER
 LUSK, A/K/A SUSAN LESK,                 :
                                         :
                          Defendant.     :
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DENISE COTE, District Judge:

     On March 27, 2020, the defendant filed a letter with the

Court reporting that counsel for the plaintiff, Kenneth Craig,

died on February 17, 2020.        On March 28, 2020, the defendant

filed a notice of voluntary dismissal in connection with her

counterclaims and third-party claims in this action.             On March

30, Douglas Dollinger, Esq. requested that he be substituted for

Kenneth Craig as counsel for the plaintiff.           The same day, the

defendant’s counterclaims and third-party claims were dismissed

without prejudice, and Douglas Dollinger was ordered to file a

notice of appearance by April 3, 2020, should he wish to appear

in this action.      No such notice of appearance was filed.

Accordingly, it is hereby

     ORDERED that the Clerk of Court shall close this case.

Dated:       New York, New York
             April 6, 2020
                                     ____________________________
                                              DENISE COTE
                                     United States District Judge
